               Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 1 of 36


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
––––––––––––––––––––––––––––––––––––––––– x
                                          :
Sonia Cauchi and Stephanie Branton, individually
                                          :
on behalf of themselves and all others similarly
situated,                                 :             Case No.
                                          :
             Plaintiffs,                  :
                                          :
v.                                        :
                                          :              CLASS ACTION COMPLAINT
L’Oreal USA, Inc.,                        :
                                          :                JURY TRIAL DEMANDED
             Defendant.                   :
                                          :
                                          :
––––––––––––––––––––––––––––––––––––––––– x

                   Plaintiffs Sonia Cauchi and Stephanie Branton (hereinafter collectively the

   “Plaintiffs”), individually on behalf of themselves and all others similarly situated, by their

   attorneys, allege the following upon information and belief, except for those allegations pertaining

   to Plaintiffs, which are based on personal knowledge:

                                     NATURE OF THE ACTION

          1.       This action seeks to remedy the deceptive and misleading business practices of

   L’Oreal USA, Inc. (hereinafter “Defendant”) with respect to the marketing and sale of Defendant’s

   waterproof mascara line of products throughout the country, including, but not limited to, the

   following products (hereinafter collectively the “Products”):

                ● L’Oréal Voluminous Waterproof Mascara;

                ● L’Oréal Voluminous Lash Paradise™ Waterproof Mascara;

                ● Maybelline Volum’ Express the Falsies Waterproof Mascara;

                ● Maybelline Volum’ Express Total Temptation Waterproof Mascara;

                ● Maybelline Great Lash Waterproof Mascara; and

                ● Maybelline Total Temptation Waterproof Mascara.
                                                    1
            Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 2 of 36


       2.       Defendant does specifically list both the active and inactive ingredients of these

Products but fail to disclose that the Products contain Per and Polyfluoroalkyl Substances

(hereinafter “PFAS”).

       3.       PFAS are a widely recognized group of man-made synthetic chemicals that are

made up of incredibly dangerous substances, especially in the context of applying them to the skin.

PFAS offers no therapeutic cosmetic benefit whatsoever. Rather, PFAS are harmful toxins.

       4.       PFAS have been recognized, acknowledged, and accepted as well-known health

hazards to humans, the environment, and animals for decades, dating back to the 1950’s.1

       5.       To that effect, PFAS can be toxic to humans and have adverse effects on humans’

bodies when they bioaccumulate, even at very low levels.

       6.       PFAS can bioaccumulate in the body through mere application to the skin and by

absorption through tear ducts; ingestion is not required. Thus, PFAS exposure risk is particularly

high when PFAS are applied near a person’s eyes through mascara products, such as Defendant’s

Products, because the application subjects the user to PFAS exposure through skin and tear duct

absorption.

       7.       Once PFAS do bioaccumulate in the human body, PFAS are known to cause cancer,

liver damage, decreased fertility, increased risk of asthma, and thyroid disease.2

       8.       For example, “[i]n a series of five reports the [C-8 Science] panel noted a “Probable

Link” between exposure to C8 [Perfluorooctanoic Acid (PFOA) which is a PFAS] and pregnancy-

induced hypertension, thyroid disease, ulcerative colitis, testicular cancer, kidney cancer and high

cholesterol”3




1
  https://www.ewg.org/research/decades-polluters-knew-pfas-chemicals-were-dangerous-hid-risks-public
2
  https://www.hsph.harvard.edu/news/hsph-in-the-news/pfas-health-risks-grandjean/
3
  See https://odh.ohio.gov/wps/wcm/connect/gov/c7ed2904-c1ca-43bc-ae3b-
5315d35fd71d/C8community.pdf?MOD=AJPERES&CONVERT_TO=url&CACHEID=ROOTWORKSPACE.Z18
_M1HGGIK0N0JO00QO9DDDDM3000-c7ed2904-c1ca-43bc-ae3b-5315d35fd71d-mjNdjuE
                                                  2
             Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 3 of 36


        9.       Moreover, under the U.S. Environmental Protection Agency’s (hereinafter “EPA”)

Guidelines for Carcinogen Risk Assessment, there is “Suggestive Evidence of Carcinogenic

Potential” for PFAS in humans.4

        10.      Despite the widespread knowledge of the dangers of PFAS, which is highlighted

above and delved into greater below, Defendant still did not include on the Products’ packaging

or ingredients lists the presence or risk of containing PFAS in the Products. As such, Defendant

acted negligently and/or intentionally to deceive consumers, including Plaintiffs and those

similarly situated (hereinafter “Class Members”), through its misleading omissions on the

Products’ packaging and ingredients lists.

        11.      Only Defendant had exclusive knowledge of the contents and formula of its

Products, including whether they contained or were at a risk of containing PFAS.

        12.      Defendant, as described in greater detail below, also had exclusive knowledge of

its ingredient suppliers and could have obtained information from their suppliers about the contents

of the ingredients, including whether the Products contained or were at risk of containing PFAS.

        13.      Nevertheless, despite Defendant knowing of the presence and/or material risk of

containing PFAS in the Products, Defendant still omitted PFAS from the ingredients list.

        14.      Consumers like Plaintiffs trust manufacturers such as Defendant to sell Products

that accurately inform consumers what is in the Products, including whether they contain or risk

containing known toxins and carcinogens such as PFAS.

        15.      Moreover, consumers like Plaintiffs and Class Members are unable to determine

nor identify the contents of the Products and decipher whether they are at risk of the dangers




4
 U.S. Environmental Protection Agency Office of Water Health and Ecological Criteria Division, Drinking Water
Health Advisory for Perfluorooctanoic Acid (PFOA) (May 2016),
https://www.epa.gov/sites/production/files/2016-05/documents/pfoa_health_advisory_finalplain.
Pdf. Perfluorooctane sulfonic acid (“PFOS”) is also considered a PFAS chemical.
                                                      3
            Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 4 of 36


presented by PFAS at the point of sale due to the Products’ omission and failure to disclose the

presence or risking of containing PFAS on its packaging and/or ingredient lists.

          16.    As such, Plaintiffs and Class Members certainly expect that the waterproof mascara

cosmetic products they purchase will comply with its labeling and not contain any knowingly

harmful substance or carcinogen like PFAS.

          17.    Defendant specifically manufactures, sells, and distributes the Products in this

manner using a marketing and advertising campaign centered around claims that appeal to health-

conscious consumers.

          18.    For example, Defendant’s marketing and advertising campaign includes the one

place that every consumer looks when purchasing a product—the packaging and labels themselves.

Consumers expect the ingredient listing on the packaging and labels to accurately disclose

the ingredients within the Products and to warn of any potential health effects from the

ingredients.

          19.    However, Defendant’s advertising and marketing campaign is false, deceptive, and

misleading because the Products contain PFAS, which Defendant does not list nor mention

anywhere on the Products’ packaging or labeling.

          20.    Plaintiffs and Class Members relied on Defendant’s misrepresentations and

omissions of what is in the Products when they purchased them.

          21.    Consequently, Plaintiffs and Class Members lost the entire benefit of their bargain

when what they received was a waterproof mascara product contaminated with known harmful

toxins. Alternatively, Plaintiffs paid a premium for Products that were not as they were represented

to be.5


5
 By way of example and to plausibly plead that a price premium exists in this case, Loreal’s Voluminous
Waterproof Mascara costs approximately $9.99. See https://www.ulta.com/p/voluminous-volume-building-
waterproof-mascara-14353?catargetid=330000200002232596&CAPCID=438981189005&CATCI=aud-

                                                       4
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 5 of 36


       22.     Accordingly, Defendant’s conduct violated and continues to violate, inter alia,

New York General Business Law §§ 349 and 350. Defendant also breached and continues to

breach its warranties regarding the Products. In addition, Defendant has been and continues to be

unjustly enriched.

       23.     Plaintiffs bring this action against Defendant on behalf of themselves and Class

Members who purchased the Products during the applicable statute of limitations period (the

“Class Period”).

                                   FACTUAL BACKGROUND

Defendant’s Misleading Advertising and Marketing Campaign for the Products

       24.     Defendant is a conglomerate and the one the largest cosmetic companies in the

world, which includes generating over seven billion dollars in sales per year in the United States.6

Defendant also owns and operates over 30 beauty brands, including the Maybelline mascara

products at issue.7

       25.     According to Defendant, its mission is to bring “innovative, effective, high quality

Products to our consumers around the world.” To do so, Defendant selects suppliers, “who are

experts in their field” to ensure “the quality, effectiveness, and traceability of our products.”8

       26.     Defendant also develops all its own products and has research and innovation

centers all over the world.9 Through its research, Defendant claims it is “providing a continuously




818838764052:dsa-896668798224&CAAGID=105608774288&CADevice=c&gclid=CjwKCAjw9qiTBhBbEiwAp-
GE0fjbSBM8HxgDOs5EeHpibDvokx_BGUbbXcK9PlgfJ_ekZTjZPdRo-RoCvWsQAvD_BwE. However, there are
much cheaper similar products available. For example, Wet n Wild’s “MEGA LENGTH WATERPROOF
MASCARA” only costs $3.79. https://www.wetnwildbeauty.com/mega-length-waterproof-
mascara.html?utm_source=linkshare&utm_medium=affiliate&publisher_id=2116208&ranMID=43590&ranEAID=
TnL5HPStwNw&ranSiteID=TnL5HPStwNw-
YABsZ9iBXQu.76AMOvYovw&LSNSUBSITE=Omitted_TnL5HPStwNw&utm_medium=CPA&utm_campaign=
TnL5HPStwNw&utm_source=Linkshare.
6
  https://www.loreal.com/en/usa/
7
  Id.
8
  https://www.loreal.com/en/audiences/suppliers/
9
  https://www.loreal.com/en/beauty-science-and-technology/beauty-research-and-innovation/
                                                  5
           Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 6 of 36


improving response to the Beauty needs and aspirations of consumers, while the products they

create are ever more effective, and provide the highest standards of quality and safety.”10

        27.      Defendant also takes great pride in its commitment to research and proudly states

that it employs over 470 United States based researchers and scientists.11 For example, the L’Oréal

Paris brand website states that its products are “Rooted in Science” and “based on the deepest

knowledge thanks to its 4,000 researchers and 21 scientific research centers around a world.”12

        28.      Defendant also claims that “The Quality and Safety of Our Products Are Our

Priority” and that it is “Going above and beyond industry standards” by “providing the best -

ingredients, formulation, and performance - in each and every one of our products.”13

        29.      One of Defendant’s most popular brands is its “L’Oréal Paris” cosmetics line,

which consists of makeup (mascara, lipstick, foundation, etc.,), skin care (eye cream moisturizer,

sunscreen, etc.), hair color (permanent and semi-permanent color, hair highlights, and root touch

up, etc.), hair care (including shampoo, conditioner, hair masks, etc.) and hair style (hair gel, hair

spray, heat protectant, etc.).14

        30.      Within its “L’Oréal Paris” makeup line, Defendant offers ten different waterproof

mascara products.15 Defendant also owns Maybelline cosmetic brand that offers mascaras.16

        31.      Of these products, and delved into in further detail below, testing has determined

that the Products contain undisclosed PFAS.




10
   Id.
11
   Id.
12
   https://www.loreal.com/en/consumer-products-division/loreal-paris/
13
   https://www.loreal.com/en/commitments-and-responsibilities/for-our-products/productquality-
and-safety/
14
   https://www.lorealparisusa.com/
15
   Id.
16
   Id.
                                                       6
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 7 of 36


       32.        Defendant formulated, developed, manufactured, labeled, distributed, marketed,

advertised, and sold the Products throughout the United States, including this district, during the

Class Period.

       33.        The packaging, labeling, and ingredients lists of the Products that Plaintiffs and

Class Members relied on when purchasing the Products were prepared, reviewed, and/or approved

by Defendant and their agents, and were disseminated by Defendant and their agents through the

packaging, labeling, and ingredients list that contained the misrepresentations and omissions

alleged herein.

       34.        Defendant intended for consumers, such as Plaintiffs and Class Members, to rely

on the statements and omissions on the packaging, labeling, and ingredients lists of the Products

at the time of purchase.        Consequently, Defendant’s omissions were designed to mislead

consumers, such as Plaintiffs and Class Members, when purchasing the Products. If Plaintiffs had

known the truth about Defendant’s concealment that its Products had or risked containing PFAS,

then Plaintiffs would not have purchased the Products or would have paid less for the Products.

       35.        Defendant owns, manufactures, and distributes the Products and is responsible for

allowing PFAS in the Products, for the omission of PFAS on the Products’ labeling and ingredient

lists, and for selecting and sourcing the ingredients used for the Products. Thus, Defendant knew,

or should have known, that failing to disclose the presence of detectable levels of PFAS was a

material omission and that it was concealing the true quality, nature, and safety of the Products.

       36.        To that effect, none of the Products disclose PFAS or risk of containing PFAS on

the packaging, labeling, or ingredient list of the Products.

       37.        Instead, Defendant includes several misrepresentations in addition to the omissions

of PFAS that would lead a reasonable consumer to conclude that the Products are safe and do not

contain harmful PFAS.


                                                   7
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 8 of 36


       38.     For example, Defendant’s “L’Oréal Voluminous Waterproof Mascara,” states that

the Product is “ophthalmologist and allergy tested. Suitable for sensitive eyes. Tested under

dermatological control for safety,” as depicted below:




                                                8
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 9 of 36



       39.    The same deceitful statements can be found on the Maybelline Products. For

example, the Maybelline “Volum’ Express the Falsies Waterproof Mascara,” and the “Colossal

Waterproof Mascara,” both state that the Products are “ophthalmologist tested. Suitable for

contact wearers” as depicted below:




                                            9
Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 10 of 36




                              10
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 11 of 36



        40.     Maybelline’s “Great Lash Waterproof Mascara” also states that it is “contact lens

safe” and “hypoallergenic,” as depicted below:




        41.     All the aforementioned representations are likely to mislead reasonable consumers,

including Plaintiffs, into believing that the Products are safe for use and do not contain or risk

containing the carcinogenic and/or toxic PFAS not disclosed on the Products’ label, packaging, or

ingredients list.

                                                 11
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 12 of 36


PFAS and Mascara Products

        42.     Defendant markets, advertises, and sells the mascara Products as beauty products

that are used to thicken, lengthen, color, curl, and provide volume to eyelashes, with the goal of

helping to accentuate the appearance of eyes. Waterproof mascara specifically is a form of

mascara that does not get washed off with water easily.

        43.     Sales of mascara products, including waterproof mascaras, have steadily increased

as consumers have become more vigilant and health conscious in terms of protecting their skin

from harmful chemicals. As of 2020, the global mascara market size was $5.7 billion USD, and

it is expected to reach 6.9 billion USD by 2027.17

        44.     Consumers have become increasingly concerned about the effects of synthetic and

chemical ingredients in products that they put on and/or into their bodies. Companies such as

Defendant have capitalized on consumers’ desire for healthy and safe products, and indeed

consumers are willing to pay, and have paid, a premium for these products.

        45.     Consumers lack the meaningful ability to test or independently ascertain or verify

whether a product contains additional unlisted substances, including unsafe substances such as

PFAS, especially at the point of sale, and therefore must and do rely on Defendant to truthfully

and honestly report what the Products contain on the Products’ packaging or labels.

        46.     When consumers look at the Products’ packaging, there is no mention of PFAS.

PFAS are not listed in the ingredients section, nor is there any warning about the inclusion (or even

potential inclusion) of PFAS in the Products. This leads reasonable consumers to believe the

Products do not contain dangerous chemicals like PFAS.




17
  https://www.marketwatch.com/press-release/mascara-market-in-2022-27-cagr-with-top-countries-data-what-are-
the-growth-opportunities-in-the-mascara-industry-latest-142-pages-report-2022-01-20
                                                     12
        Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 13 of 36


       47.    Additionally, Defendant’s website does not mention PFAS in the Products. For

example, “L’Oréal Voluminous Lash Paradise™ Waterproof Mascara” product makes no mention

of any contained PFAS on its product page (lorealparisusa.com) as depicted below:




                                              13
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 14 of 36


        48.      However, despite Defendant’s representations and omissions, the Products contain

PFAS.

Danger of PFAS in Cosmetic Products

        49.      There are thousands of PFAS in existence, but what all PFAS share is that

they are comprised of multiple carbon-fluorine bonds, which are considered some of the

strongest in chemistry. As such, PFAS are highly persistent in the environment, humans,

and even animals.

        50.      PFAS are generally defined as either “long chain” or “short chain” and vary

depending on the amounts of carbon atoms contained. Long-chain PFAS contain seven

or more carbon atoms; as opposed to short-chain PFAS, which contain seven or fewer

carbon atoms.

        51.      Some of the most dangerous long-chain PFAS include, PFOA and PFOS,

which have been found at high rates throughout the world in the environment, humans,

and animals.

        52.      Short-chain PFAS, according to a study conducted by the U.S. Department

of Health and Human Services’ National Toxicology Program found that short-chain

PFAS have the same adverse effects as long-chain compounds. This means that short-

term PFAS have negative impacts on the environment, humans, and animals. The study

also found that short-term PFAS can have even greater adverse effects on human organs,

such as greater damage to the liver and thyroid hormone.18

        53.      A common usage of PFAS is through the consumer product manufacturing

processes to help products become resistant to water, grease, and stains; however, PFAS




18
  National Toxicology Program, Per- and Polyfluoroalkyl Substances (PFAS),
https://ntp.niehs.nih.gov/whatwestudy/topics/pfas/index.html (last accessed on Apr. 20, 2022).
                                                        14
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 15 of 36


still contain very dangerous adverse side effects even when used in this context since the

inhalation of PFAS can also lead to negative health consequences.

        54.      PFAS are also extremely soluble in water, which has led to harm to humans

and animals that drink PFAS contaminated water. Moreover, PFAS solubility is also

leading to the discovery of PFAS in marine life.

        55.      PFAS are harmful to humans in addition to the environment and persist and

bioaccumulate over time in a person, meaning they can be harmful even at very low levels

due to the accumulation over time.

        56.      PFAS bind to proteins in the blood of humans exposed to the material and remain

and persist over long periods of time. Due to their unique chemical structure, PFAS bioaccumulate

in the blood and body of exposed individuals.

        57.      PFAS are often called “forever chemicals” because they don’t break down in bodies

or in the environment, so the more they get used, the more they build up and the bigger the risk

they pose to our health.19

        58.      Accordingly, scientists and health experts alike have become increasingly

concerned about how PFAS impact human health, and the Centers for Disease Control

and Prevention (hereinafter “CDC”) outlined, “a host of health effects associated with

PFAS exposure, including cancer, liver damage, decreased fertility, and increased risk of

asthma and thyroid disease.”20

        59.      Additionally, many PFAS are associated with harmful and serious health

effects, which include altered growth, negative effect on children’s cognitive abilities,

interference with the body’s natural hormones, increased cholesterol levels, modulation


19
  https://www.marylandmatters.org/2022/05/03/maryland-pirg-whats-next-for-toxic-forever-chemicals/.
20
  Harvard T.H. Chan Sch. of Pub. Health, Health risks of widely used chemicals may be underestimated (June 27,
2018), https://www.hsph.harvard.edu/news/hsph-in-the-news/pfas-health-risks-underestimated/ (last accessed on
Apr. 20, 2022).
                                                      15
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 16 of 36


of the immune system, testicular and kidney cancers, high uric acid levels, elevated liver

enzymes, ulcerative colitis, and pregnancy induced hypertension.

        60.      Of particular concern are cosmetics, such as the Products at issue herein,

that are applied close to the eyes and the mouth, which could increase exposure and

enhance risk due to increased absorption and ingestion.21

        61.      PFAS in cosmetics can be directly absorbed into the human body through

tear ducts, inhalation, and ingestion by applying the cosmetic products either on the

eyelids, face, or lips. The most common cosmetic products that result in this type of

inhalation are through mascara products, foundation, and liquid lipstick.

        62.      Defendants knew, or should have known, that PFAS remain or bioaccumulate in

the human body while presenting significant health risks to humans.

Banning of PFAS by International and Domestic Regulating Agencies

        63.      To combat the newfound risks posed by PFAS in cosmetic products, in June

2021, bi-partisan legislation was formed in the Senate and House to ban PFAS in cosmetic

products, which included makeup, moisturizer, and perfume.22 This proposed legislation

was supported by the scientific community.23

        64.      Many domestic and world organizations have moved to ban PFAS or

recognize PFAS as harmful toxins. For example:

                 a.    The Stockholm Convention on Persistent Organic Pollutants
                       listed PFOS as an organic pollutant.24



21
   Heather D. Whitehead et al., Fluorinated Compounds in North American Cosmetics, Env’t Sci. & Tech. Letters
2021, 8, 7, 538-44 June 15, 2021), https://pubs.acs.org/doi/10.1021/acs.estlett.1c00240?goto=supporting-info (last
accessed on Apr. 20, 2022).
22
   See https://www.collins.senate.gov/newsroom/collins-blumenthal-introduce-bill-ban-pfas-chemicals-cosmetics;
see also https://debbiedingell.house.gov/news/documentsingle.aspx?DocumentID=3097
23
   Id.
24
   Melissa Lim, Secretariat of the Basel, Rotterdam and Stockholm Conventions, “Phasing out PFOS under the
Stockholm Convention,” May 2014, https://www.oecd.org/chemicalsafety/portal-perfluorinated-
chemicals/webinars/Presentation%203_Melisa.pdf (last accessed on Apr. 21, 2022).
                                                        16
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 17 of 36


                b.   The US government announced a “PFAS Strategic Roadmap,”
                     which is an interagency plan to combat the continued use and
                     release of PFAS. As part of the Roadmap, the EPA committed
                     to designating PFOA as “hazardous substances” under the
                     Comprehensive Environmental Response, Compensation and
                     Liability Act (hereinafter “CERCLA”), finalizing a PFAS
                     reporting rule under the Toxic Substance Control Act
                     (“hereinafter “TSCA”) section 8(e); and publishing toxicity
                     assessment for seven popularly used PFAS.25

                c.   The Science Advisory Board (hereinafter “SAB”) stated PFOA
                     is a “likely carcinogen,” and that evidence supports a label of
                     “likely carcinogen” for PFOS.26

                d.   The International Agency for Research on Cancer (hereinafter
                     “IARC”) has classified PFOA as possibly carcinogenic to
                     humans.27

                e.   The CDC has recognized that the exposure to PFAS may impact
                     the immune system and reduce antibody response to vaccines.
                     This is of particular concern to those that have received the
                     COVID-19 vaccine to protect against the ongoing pandemic.28

        65.     Even though PFAS are essentially unregulated at the federal level, over the past

decade, a few states have recognized the risk posed by PFAS themselves and have enacted

maximum contaminant levels regulating certain PFAS, including PFOA and PFOS, in drinking

water. For example:

                a.   New Jersey’s Department of Environmental Protection issued a
                     preliminary drinking water guidance for PFOA.29


25
   EPA, United States Environmental Protection Agency, “PFAS Strategic Roadmap: EPA’s Commitments to
Action 2021-2024,” https://www.epa.gov/pfas/pfas-strategic-roadmap-epas-commitments-action-2021-2024 (last
accessed on Apr. 21, 2022).
26
   EPA, United States Environmental Protection Agency, “EPA Advances Science to Protect the Public from PFOA
and PFOS in Drinking Water,” November 16, 2021, https://www.epa.gov/newsreleases/epa-advances-science-
protect-public-pfoa-and-pfos-drinking-water (last accessed on Apr. 21, 2022).
27
   IARC Monographs, “Some Chemicals Used As Solvents And In Polymer Manufacture,” Volume 110, World
Health Organization, 2017, file:///Users/ethanrubin/Downloads/mono110.pdf (last accessed on Apr. 25, 2022).
28
   ATSDR, Agency for Toxic Substances and Disease Registry, “Per- and Polyfluoroalkyl Substances (PFAS) and
Your Health,” https://www.atsdr.cdc.gov/pfas/health-
effects/index.html#:~:text=CDC%2FATSDR%20recognizes%20that%20exposure,resistance%20(NTP%2C%20201
6). (last accessed on Apr. 21, 2022).
29
   New Jersey Department of Environmental Protection, “Contaminants of Emerging Concern,”
https://www.nj.gov/dep/srp/emerging-
contaminants/#:~:text=Perfluorooctanoic%20Acid%20(PFOA)%3A,PFOA%20of%2014%20ng%2FL.(last accessed
on Apr. 21, 2022).
                                                    17
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 18 of 36


                 b.   New York took steps to regulate when and how PFAS could
                      knowingly be released into the environment, including for
                      firefighting purposes. New York also enacted a law that
                      prohibits the sale of food packaging containing PFAS.30

                 c.   California passed the Toxic Free Cosmetics Act, which will
                      prohibit the manufacturing and/or selling of any cosmetic
                      products with any intentionally added amount of 24 specified
                      chemicals, including PFAS.31 California’s Office of
                      Environmental Health Hazard Assessment (hereinafter
                      “OEHHA”) also listed PFOA as a carcinogen under proposition
                      65 and recently enacted legislation to remove PFAS in paper-
                      based food packaging as well as the disclosure of the presence
                      of PFAS in cookware like New York’s regulation.32

                 d.   Connecticut signed a bill into law banning the use of firefighting
                      foam and food packaging that contains PFAS.33

                 e.   Maine, Minnesota, Vermont, and Washington have recently
                      enacted a law that will ban PFAS in nearly all products.34

        66.      Regarding federal regulation, the use and labeling of cosmetic products is regulated

by the Federal Food, Drug, and Cosmetics Act of 1938 and the Fair Packaging and Labeling Act

of 1967. Cosmetic products are defined as products that are “intended to be rubbed, poured,

sprinkled, sprayed on, introduced into, or otherwise applied to the human body… for cleansing,

beautifying, promoting, attractiveness, or altering the appearance.”35

        67.      However, except for a few color additives, the Food and Drug Administration

(hereinafter “FDA”) does not require cosmetics to obtain FDA approval prior to entering the




30
   NY Gen. Bus. L. § 391-u-2, accessible at: https://www.nysenate.gov/legislation/laws/GBS/391-U*2 (last accessed
on Apr. 25, 2022); see also S8817/A4739.
31
   Cal. Toxic-Free Cosmetic Act (AB 2762 – Muratsuchi).
32
   OEHHA, “Notice to Interested Parties Chemical Listed Effective Feb. 25, 2022, As Known to the State of
California to Cause Cancer: Perfluorooctanoic Acid,” https://oehha.ca.gov/proposition-65/crnr/notice-interested-
parties-chemical-listed-effective-february-25-2022-known-state, California Office of Environmental Health Hazard
Assessment, California Office of Environmental Health Hazard Assessment (last accessed on Apr. 25, 2022); see
also Cal. Safer Food Packaging and Cookware Act 2021, AB 1200.
33
   Public Act 21-191, An Act Concerning the Use of PFAS Substances in Class B Firefighting B Foam.
34
   Sec. 1.32 MRSA § 1731 5-A, An Act To Protect the Environment and Public Health by Further Reducing Toxic
Chemicals in Packaging; see also Sec. 325F.075, Food Packaging; PFAS; see also S.20 (Act 36); see also HB 1694
– 2021-22.
35
   FD&C Act, sec. 201(i).
                                                       18
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 19 of 36


market, and federal regulation does not regulate the testing needed to determine the contents and/or

safety of cosmetics.36

       68.     Consequently, the only oversight is done on a voluntary basis on the part of

cosmetic companies that wish to partake in registering the brand name and ingredient of their

products.

The Usage and Testing of PFAS in Cosmetic Products

       69.     In addition to PFAS being found in lipsticks, foundations, and mascara cosmetic

products, PFAS can also be found in other cosmetic products that can be absorbed through skin

contact, such as, lotions, cleansers, nail polish, shaving cream, eyeliner, and eyeshadow.

       70.     PFAS are generally added to cosmetics to increase their long-term wearability and

to make skin appear shimmery and smooth.37 PFAS can also increase product durability, product

consistency, and water resistance.38

       71.     In some instances, PFAS are indeed added to ingredients lists of cosmetic products,

but even in such instances the amounts of PFAS contained therein is not disclosed.

       72.     However, Defendant does not make mention of PFAS in its mascara products and

instead even includes the representation on its website that the Products are “ophthalmologist

tested” and “suitable for sensitive eyes,” which makes a reasonable consumer believe they are

purchasing a safe product, as depicted below:




36
   https://www.fda.gov/cosmetics/voluntary-cosmetic-registration-program
37
   https://www.smithsonianmag.com/smart-news/hold-blush-cosmetics-may-contain-toxic-forever-chemicals-
180978036/#:~:text=PFAS%20are%20added%20to%20cosmetics,product%20consistency%20and%20water%20res
istance.
38
   Id.
                                                 19
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 20 of 36




       73.     In June 2021, Notre Dame University researchers published a peer-reviewed study

(“Study”) of 231 cosmetic products to determine whether the tested cosmetic products contained

PFAS. The test was conducted by utilizing a particle induced gamma ray emission to screen for

total fluorine, which is the chemical indicator for PFAS in products. Specifically, the Study tested




                                                20
             Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 21 of 36


lip products, eye products, face products, foundations, mascaras, concealers, and eyebrow

products, which were purchased from retailers.39

           74.      The Study found that mascara products produced the largest range of total fluorine

measurements. Moreover, the three product categories with the highest proportion of fluorine

concentrations were foundations, mascaras, and lip products, which is of significance since those

are three cosmetic products applied to the face and have easiest access to human ingestion through

inhalation and absorption.

           75.      Even more concerning is that researchers concluded that high fluorine levels were

detected in commonly advertised “water resistant” and/or “long lasting” foundations, liquid

lipsticks, and waterproof mascaras, such as Defendant’s Products.

           76.      A further analysis of 29 foundations, mascaras, and lip products was also conducted

and revealed that short-chain PFAS were commonly found in these cosmetic products.

Additionally, researchers detected long-chain PFAS in these 29 cosmetic products.

           77.      Of the 231 products tested, only 8% of products that were screened for total fluorine

listed any PFAS as an ingredient and only 3% of the 29 products in the second round of testing

listed any PFAS as an ingredient.

           78.      The Study led the federal government to enact bipartisan legislation that would ban

PFAS in cosmetic products, including makeup, moisturizer, and perfume.                            The proposed

legislation by U.S. Senator Susan Collins (R-ME) and Senator Richard Blumenthal (D-CT) also

would direct the FDA to issue a proposed rule banning the intentional addition of PFAS in

cosmetics within 270 days of the law’s enactment and require a final rule to be issued 90 days

thereafter.40      Similar legislation was also introduced in the House of Representatives by




39
     https://pubs.acs.org/doi/10.1021/acs.estlett.1c00240
40
      https://www.collins.senate.gov/newsroom/collins-blumenthal-introduce-bill-ban-pfas-chemicals-cosmetics
                                                         21
            Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 22 of 36


Representatives Debbie Dingell (D-MI), Brian Fitzpatrick (R-PA), Annie Kuster (D-NH), and

John Katko (R-NY).41

           79.     Defendant’s false, misleading, omissions, and deceptive misrepresentations

regarding the ingredients of the Products are likely to continue to deceive and mislead reasonable

consumers and the public, as they have already deceived and misled Plaintiffs and the Class

Members.

           80.     Defendant’s concealment was material and intentional because people are

concerned with what is in the products that they are putting onto and into their bodies. Consumers

such as Plaintiffs and the Class Members are influenced by the ingredients listed. Defendant

knows that if it had not omitted that the Products contained or risked containing PFAS, then

Plaintiffs and the Class would not have purchased the Products at all.

                                     JURISDICTION AND VENUE

           81.     This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

U.S.C. section §1332(d) in that (1) this is a class action involving more than 100 class members;

(2) Plaintiff Sonia Cauchi is a citizen of New York, Plaintiff Stephanie Branton is a citizen of New

York, Defendant L’Oreal USA, Inc. is a citizen of Delaware and New York, and more than two-

thirds of the class members reside outside the state of New York; and (3) the amount in controversy

is in excess of $5,000,000, exclusive of interests and costs.

           82.     This Court has personal jurisdiction over Defendant because Defendant conducts

and transacts business in the state of New York, contracts to supply goods within the state of New

York, and supplies goods within the state of New York.




41
     https://debbiedingell.house.gov/news/documentsingle.aspx?DocumentID=3097
                                                      22
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 23 of 36


        83.    Venue is proper because Defendant and many Class Members reside in the

Southern District of New York, and throughout the state of New York. A substantial part of the

events or omissions giving rise to the Classes’ claims occurred in this district.

                                             PARTIES

Plaintiffs

        84.    Plaintiff Sonia Cauchi is a citizen and resident of the state of New York. Plaintiff

resides in Queens, New York. During the applicable statute of limitations period, Plaintiff

purchased Defendant’s Maybelline Great Lash Waterproof Mascara and L’Oreal Voluminous

Waterproof Mascara Products that contained PFAS. Plaintiff purchased Defendant’s Products for

her personal use during the Class Period in Queens, New York. Plaintiff’s most recent purchase

was in 2022 from Target in Queens, New York. Independent testing has confirmed that these

Products contained PFAS.

        85.    Plaintiff Stephanie Branton is a citizen and resident of the state of New York.

Plaintiff resides in Nassau County, New York. During the applicable statute of limitations period,

Plaintiff purchased Defendant’s L’Oreal Voluminous Lash Paradise Waterproof Mascara and

Maybelline Volum’ Express the Falsies Waterproof Mascara Products that contained PFAS.

Plaintiff purchased Defendant’s Products for her personal use during the Class Period in Nassau

County, New York. Plaintiff’s most recent purchase was in 2022 from an online retailer. Plaintiff

purchased the Products in Nassau County, New York and had the Products shipped to her home in

Nassau County, New York. Independent testing has confirmed that these Products contained

PFAS.

        86.    Had Defendant not made the false, misleading, and deceptive representations and

omissions regarding the Products containing PFAS, Plaintiffs would not have been willing to

purchase the Products. Plaintiffs purchased, purchased more of, and/or paid more for, the Products

than they would have had they known the truth about the Products. The Products Plaintiffs
                                          23
           Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 24 of 36


received were not as represented because they contain or risked containing the known toxin PFAS.

Accordingly, Plaintiffs were injured in fact and lost money as a result of Defendant’s improper

conduct.

Defendant

       87.     Defendant, L’Oreal USA, Inc., is a Delaware corporation with its principal place of

business in New York, New York. L’Oreal USA, Inc. is one of the largest cosmetics companies

in the world and responsible for producing some of the most popular cosmetic brands, including

L’Oréal and Maybelline branded products.

       88.     Defendant manufactures, markets, advertises, and distributes the Products

throughout the United States. Defendant created and/or authorized the false, misleading, and

deceptive advertisements, packaging, and labeling of its Products.

                                    CLASS ALLEGATIONS

       89.     Plaintiffs bring this matter on behalf of themselves and those similarly situated. As

detailed at length in this Complaint, Defendant orchestrated deceptive marketing and labeling

practices. Defendant’s customers were uniformly impacted by and exposed to this misconduct.

Accordingly, this Complaint is uniquely situated for class-wide resolution.

       90.     The Class is defined as all consumers who purchased the Products anywhere in the

United States during the Class Period.

       91.     Plaintiffs also seek certification, to the extent necessary or appropriate, of a subclass

of individuals who purchased the Products in the state of New York at any time during the Class

Period (the “New York Subclass”).

       92.     The Class and New York Subclass shall be referred to collectively throughout the

Complaint as the Class.




                                                  24
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 25 of 36


       93.     The Class is properly brought and should be maintained as a class action under Rule

23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and

adequacy because:

       94.     Numerosity: Class Members are so numerous that joinder of all members is

impracticable. Plaintiffs believe that there are thousands of consumers in the Class and the New

York Class who are Class Members as described above who have been damaged by Defendant’s

deceptive and misleading practices.

       95.     Commonality: The questions of law and fact common to the Class Members which

predominate over any questions which may affect individual Class Members include, but are not

limited to:

               a. Whether Defendant is responsible for the conduct alleged herein which was

                    uniformly directed at all consumers who purchased the Products;

               b. Whether Defendant’s misconduct set forth in this Complaint demonstrates that

                    Defendant has engaged in unfair, fraudulent, or unlawful business practices

                    with respect to the advertising, marketing, and sale of its Products;

               c. Whether Defendant made false and/or misleading statements and omissions to

                    the Class and the public concerning the contents of its Products;

               d. Whether Defendant’s false and misleading statements and omissions

                    concerning its Products were likely to deceive the public; and

               e. Whether Plaintiffs and the Class are entitled to money damages under the same

                    causes of action as the other Class Members?

       96.     Typicality: Plaintiffs are members of the Class. Plaintiffs’ claims are typical of the

claims of each Class Member in that every member of the Class was susceptible to the same

deceptive, misleading conduct and purchased Defendant’s Products. Plaintiffs are entitled to relief

under the same causes of action as the other Class Members.
                                                25
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 26 of 36


       97.     Adequacy: Plaintiffs are adequate Class representatives because their interests do

not conflict with the interests of the Class Members they seek to represent, their consumer fraud

claims are common to all members of the Class, they have a strong interest in vindicating their

rights, they have retained counsel competent and experienced in complex class action litigation,

and counsel intends to vigorously prosecute this action.

       98.     Predominance: Pursuant to Rule 23(b)(3), common issues of law and fact identified

above predominate over any other questions affecting only individual members of the Class. The

Class issues fully predominate over any individual issues because no inquiry into individual

conduct is necessary; all that is required is a narrow focus on Defendant’s deceptive and misleading

marketing and labeling practices.

       99.     Superiority: A class action is superior to the other available methods for the fair

and efficient adjudication of this controversy because:

               a.     The joinder of thousands of individual Class Members is impracticable,
               cumbersome, unduly burdensome, and a waste of judicial and/or litigation
               resources;

               b.     The individual claims of the Class Members may be relatively modest
               compared with the expense of litigating the claims, thereby making it impracticable,
               unduly burdensome, and expensive—if not totally impossible—to justify
               individual actions;

               c.      When Defendant’s liability has been adjudicated, all Class Members’
               claims can be determined by the Court and administered efficiently in a manner far
               less burdensome and expensive than if it were attempted through filing, discovery,
               and trial of all individual cases;

               d.     This class action will promote orderly, efficient, expeditious, and
               appropriate adjudication and administration of Class claims;

               e.      Plaintiffs know of no difficulty to be encountered in the management of this
               action that would preclude its maintenance as a class action;

               f.      This class action will assure uniformity of decisions among Class Members;

               g.      The Class is readily definable and prosecution of this action as a class action
               will eliminate the possibility of repetitious litigation;

                                                 26
          Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 27 of 36


                h.      Class Members’ interests in individually controlling the prosecution of
                separate actions is outweighed by their interest in efficient resolution by single class
                action; and

                i.     It would be desirable to concentrate in this single venue the litigation of all
                Class Members who were induced by Defendant’s uniform false advertising to
                purchase its Products.

        100.    Accordingly, this Class is properly brought and should be maintained as a class

action under Rule 23(b)(3) because questions of law or fact common to Class Members

predominate over any questions affecting only individual members, and because a class action is

superior to other available methods for fairly and efficiently adjudicating this controversy.

                                                 CLAIMS

                                 FIRST CAUSE OF ACTION
                          VIOLATION OF NEW YORK GBL § 349
                   (On Behalf of Plaintiffs and New York Subclass Members)

        101.    Plaintiffs repeat and reallege each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

        102.    New York General Business Law Section 349 (“GBL § 349”) declares unlawful

“[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

furnishing of any service in this state . . .”

        103.    The conduct of Defendant’s alleged herein constitutes recurring, “unlawful”

deceptive acts and practices in violation of GBL § 349, and as such, Plaintiffs and the New York

Subclass Members seek monetary damages against Defendant, enjoining them from inaccurately

describing, labeling, marketing, and promoting the Products.

        104.    There is no adequate remedy at law.

        105.    Defendant misleadingly, inaccurately, and deceptively advertise and market its

Products to consumers.

        106.    Defendant’s improper consumer-oriented conduct—including failing to disclose

that the Products have or risk containing PFAS—is misleading in a material way in that it, inter
                                              27
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 28 of 36


alia, induced Plaintiffs and the New York Subclass Members to purchase Defendant’s Products

and to use the Products when they otherwise would not have. Defendant made the untrue and/or

misleading statements and omissions willfully, wantonly, and with reckless disregard for the truth.

       107.    Plaintiffs and the New York Subclass Members have been injured inasmuch as they

purchased products that were mislabeled, unhealthy, and entirely worthless.           Accordingly,

Plaintiffs and the New York Subclass Members received less than what they bargained and paid

for.

       108.    Defendant’s advertising and Products’ packaging and labeling induced Plaintiffs

and the New York Subclass Members to buy Defendant’s Products.

       109.    Defendant’s deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of New York General Business Law §349(a) and

Plaintiffs and the New York Subclass Members have been damaged thereby.

       110.    As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiffs and the New York Subclass Members are entitled to monetary, statutory, compensatory,

treble and punitive damages, restitution, and disgorgement of all moneys obtained by means of

Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

                               SECOND CAUSE OF ACTION
                        VIOLATION OF NEW YORK GBL § 350
                (On Behalf of Plaintiffs and the New York Subclass Members)

       111.    Plaintiffs repeat and reallege each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

       112.    N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

               False advertising in the conduct of any business, trade, or commerce
               or in the furnishing of any service in this state is hereby declared
               unlawful.

       113.    N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:


                                                 28
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 29 of 36


               The term ‘false advertising, including labeling, of a commodity, or
               of the kind, character, terms or conditions of any employment
               opportunity if such advertising is misleading in a material respect.
               In determining whether any advertising is misleading, there shall be
               taken into account (among other things) not only representations
               made by statement, word, design, device, sound or any combination
               thereof, but also the extent to which the advertising fails to reveal
               facts material in the light of such representations with respect to the
               commodity or employment to which the advertising relates under
               the conditions proscribed in said advertisement, or under such
               conditions as are customary or usual . . .

       114.    Defendant’s labeling and advertisements contain untrue and materially misleading

statements and omissions concerning its Products inasmuch as Defendant misrepresents that the

Products are safe for use and don’t list that the Products contain or risk containing PFAS.

       115.    Plaintiffs and the New York Subclass Members have been injured inasmuch as they

relied upon the labeling, packaging, and advertising and purchased Products that were mislabeled.

Accordingly, Plaintiffs and the New York Subclass Members received less than what they

bargained and paid for.

       116.    Defendant’s advertising, packaging, and Products’ labeling induced Plaintiffs and

the New York Subclass Members to buy Defendant’s Products.

       117.    Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

       118.    Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

Law § 350.

       119.    Defendant made the material misrepresentations described in this Complaint in its

advertising and on the Products’ packaging and labeling.

       120.    Defendant’s material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Products were and continue to be exposed to Defendant’s material misrepresentations.


                                                 29
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 30 of 36


       121.    As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiffs and New York Subclass Members are entitled to monetary, statutory, compensatory,

treble and punitive damages, restitution, and disgorgement of all moneys obtained by means of

Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

                               THIRD CAUSE OF ACTION
                           BREACH OF EXPRESS WARRANTY
                        (On Behalf of Plaintiffs and All Class Members)

       122.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       123.    Defendant provided Plaintiffs and Class Members with an express warranty in the

form of written affirmations of fact promising and representing that the Products contain what they

say they contain and are safe for use. These express affirmations include, but are not limited to,

the ingredient lists and labels that attest to the safety of the Products but fail to include that the

Products contained or risked containing PFAS.

       124.    The above affirmations of fact were not couched as “belief” or “opinion,” and were

not “generalized statements of quality not capable of proof or disproof.”

       125.    These affirmations of fact became part of the basis for the bargain and were material

to Plaintiffs and Class Members’ transactions.

       126.    Plaintiffs and Class Members reasonably relied upon Defendant’s affirmations of

fact and justifiably acted in ignorance of the material facts omitted or concealed when they decided

to buy Defendant’s Products.

       127.    Defendant knowingly breached the express warranties by including PFAS in the

Products sold to Plaintiffs and the Class without properly notifying them of its inclusion or risk of

inclusion in the Products.

       128.    Within a reasonable time after it knew or should have known, Defendant did not

change the Products’ labels to include PFAS in the ingredient list.
                                               30
 Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 31 of 36


129.   Defendant thereby breached the following state warranty laws:

       a.     Code of Ala. § 7-2-313;

       b.     Alaska Stat. § 45.02.313;

       c.     A.R.S. § 47-2313;

       d.     A.C.A. § 4-2-313;

       e.     Cal. Comm. Code § 2313;

       f.     Colo. Rev. Stat. § 4-2-313;

       g.     Conn. Gen. Stat. § 42a-2-313;

       h.     6 Del. C. § 2-313;

       i.     D.C. Code § 28:2-313;

       j.     Fla. Stat. § 672.313;

       k.     O.C.G.A. § 11-2-313;

       l.     H.R.S. § 490:2-313;

       m.     Idaho Code § 28-2-313;

       n.     810 I.L.C.S. 5/2-313;

       o.     Ind. Code § 26-1-2-313;

       p.     Iowa Code § 554.2313;

       q.     K.S.A. § 84-2-313;

       r.     K.R.S. § 355.2-313;

       s.     11 M.R.S. § 2-313;

       t.     Md. Commercial Law Code Ann. § 2-313;

       u.     106 Mass. Gen. Laws Ann. § 2-313;

       v.     M.C.L.S. § 440.2313;

       w.     Minn. Stat. § 336.2-313;

       x.     Miss. Code Ann. § 75-2-313;
                                     31
Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 32 of 36


    y.    R.S. Mo. § 400.2-313;

    z.    Mont. Code Anno. § 30-2-313;

    aa.   Neb. Rev. Stat. § 2-313;

    bb.   Nev. Rev. Stat. Ann. § 104.2313;

    cc.   R.S.A. 382-A:2-313;

    dd.   N.J. Stat. Ann. § 12A:2-313;

    ee.   N.M. Stat. Ann. § 55-2-313;

    ff.   N.Y. U.C.C. Law § 2-313;

    gg.   N.C. Gen. Stat. § 25-2-313;

    hh.   N.D. Cent. Code § 41-02-30;

    ii.   II. O.R.C. Ann. § 1302.26;

    jj.   12A Okl. St. § 2-313;

    kk.   Or. Rev. Stat. § 72-3130;

    ll.   13 Pa. Rev. Stat. § 72-3130;

    mm.   R.I. Gen. Laws § 6A-2-313;

    nn.   S.C. Code Ann. § 36-2-313;

    oo.   S.D. Codified Laws, § 57A-2-313;

    pp.   Tenn. Code Ann. § 47-2-313;

    qq.   Tex. Bus. & Com. Code § 2.313;

    rr.   Utah Code Ann. § 70A-2-313;

    ss.   9A V.S.A. § 2-313;

    tt.   Va. Code Ann. § 59.1-504.2;

    uu.   Wash. Rev. Code Ann. § 6A.2-313;

    vv.   W. Va. Code § 46-2-313;

    ww.   Wis. Stat. § 402.313; and
                                   32
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 33 of 36


               xx.     Wyo. Stat. § 34.1-2-313.

       130.    As a direct and proximate result of Defendant’s breach of the express warranties,

Plaintiffs and Class Members were damaged in the amount of the price they paid (or premium

paid) for the Products, in an amount to be proven at trial.

                                  FOURTH CAUSE OF ACTION
                                FRAUDULENT CONCEALMENT
                           (On Behalf of Plaintiffs and All Class Members)

       131.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       132.    Defendant concealed and failed to disclose on the Products’ packaging and labeling

the material fact the Products contained or risked containing PFAS, and that the Products were not

safe or healthy for use.

       133.    As discussed at great length above, it has been known since the 1950’s that PFAS

are harmful chemicals to humans, animals, and the environment. The EPA, CDC and many other

groups and publications have further reported on the potential risks and dangers of PFAS.

Consequently, Defendant knew or should have known that PFAS are dangerous, and concealing

this known fact is detrimental to the consumer.

       134.    Defendant has a duty to disclose that the Products contained or risked containing

PFAS; however, Defendant did not make this disclosure.

       135.    Plaintiffs and the Class all paid a premium for the Products based upon the way it

was represented, which did not include the inclusion of PFAS, and products that are tainted with

PFAS are not worth a premium to a reasonable consumer.

       136.    Defendant had superior knowledge or means of knowledge available to them and

knew that Plaintiffs and Class Members would rely upon the representations and omissions of

Defendant regarding the quality and ingredients of its Products. Consumers lack the meaningful


                                                  33
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 34 of 36


ability to test or independently ascertain or verify whether a product contains PFAS, especially at

the point of sale.

        137.    Defendant’s concealment was material and intentional because people are

concerned with what is in the products that they are putting onto and into their bodies. Consumers

such as Plaintiffs and the Class Members are influenced by the ingredients listed, as well as any

warnings (or lack thereof) on the products they buy. Defendant knows that if it had not omitted

that the Products contained or risked containing PFAS, then Plaintiffs and the Class would not

have agreed to pay a premium price for the Products, or wouldn’t have purchased the Products at

all; however, Defendant wanted to increase sales and profits.

        138.    Defendant’s concealment misled Plaintiffs and the Class as to the true nature of

what they were buying and putting onto and into their bodies.

        139.    Defendant fraudulently concealed that the Products contained or risked containing

PFAS. Consequently, Plaintiffs and the other members of the Class have suffered injury and are

entitled to damages in an amount to be proven at trial.

                                 FIFTH CAUSE OF ACTION
                                   UNJUST ENRICHMENT
               (On Behalf of Plaintiffs and All Class Members in the Alternative)

        140.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

        141.    Plaintiffs, on behalf of themselves and consumers nationwide, bring a claim for

unjust enrichment.

        142.    Defendant’s conduct violated, inter alia, state and federal law by manufacturing,

advertising, marketing, and selling the Products while misrepresenting and omitting material facts.

        143.    Defendant’s unlawful conduct, as described in this Complaint, allowed Defendant

to knowingly realize substantial revenues from selling the Products at the expense of, and to the

detriment or impoverishment of, Plaintiffs and Class Members and to Defendant’s benefit and
                                              34
         Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 35 of 36


enrichment. Defendant has thereby violated fundamental principles of justice, equity, and good

conscience.

       144.   Plaintiffs and Class Members conferred significant financial benefits and paid

substantial compensation to Defendant for the Products, which were not as Defendant represented

them to be.

       145.   It is inequitable for Defendant to retain the benefits conferred by Plaintiffs and

Class Members’ overpayments.

       146.   Plaintiffs and Class Members seek establishment of a constructive trust from which

Plaintiff and Class Members may seek restitution.

                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all issues.

WHEREFORE, Plaintiffs, on behalf of themselves and the Class, pray for judgment as follows:

   (a) Declaring this action to be a proper class action and certifying Plaintiffs as representatives

       of the Class under Rule 23 of the FRCP;

   (b) Awarding monetary damages and treble damages;

   (c) Awarding statutory damages of $50 per transaction, and treble damages for knowing and

       willful violations, pursuant to N.Y. GBL § 349;

   (d) Awarding statutory damages of $500 per transaction pursuant to N.Y. GBL § 350;

   (e) Awarding punitive damages;

   (f) Awarding Plaintiffs and Class Members their costs and expenses incurred in this action,

       including reasonable allowance of fees for Plaintiffs’ attorneys, experts, and

       reimbursement of Plaintiffs’ expenses; and

   (g) Granting such other and further relief as the Court may deem just and proper.




                                                 35
        Case 1:22-cv-03926-JPC Document 1 Filed 05/13/22 Page 36 of 36


Dated: May 13, 2022
                                           THE SULTZER LAW GROUP P.C.

                                           By:     Jason P. Sultzer /s/
                                           _______________________________
                                           Jason P. Sultzer, Esq.
                                           Joseph Lipari, Esq.
                                           Daniel Markowitz, Esq.
                                           270 Madison Avenue, Suite 1800
                                           New York, NY 10016
                                           Tel: (845) 483-7100
                                           Fax: (888) 749-7747
                                           sultzerj@thesultzerlawgroup.com
                                           liparij@thesultzerlawgroup.com
                                           markowitzd@thesultzerlawgroup.com

                                           David C. Magagna Jr., Esq.
                                           Charles E. Schaffer, Esq.
                                           LEVIN SEDRAN & BERMAN
                                           510 Walnut Street, Suite 500
                                           Philadelphia, PA 19106
                                           Tel: 215-592-1500
                                           dmagagna@lfsblaw.com
                                           cschaffer@lfsblaw.com

                                           Counsel for Plaintiffs and the Class




                                      36
